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                                                            FILED25 Jll '2214:29USDC·ORP



                          In the US District Court for the State of Oregon
 Benjamin Jay Barber
 V.                                                Case No. 3:22-cv-00134-MO
 Unitus Community Credit Union ,
                                                                  Notice of Appeal
 Rebecca Rich , in her official capacity
 as branch manager for Unitus
 Unknown John Doe, in his official capacity as
 bank teller for Unitus


Plaintiff provides notice of appeal for the dismissal of th e action wi th prejud ice.




DATE     7/25/707-7_
